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                                                            APR 0 5 20i3
                                                        Clerk, U.S. Dis ict Court
                                                             Texas Eastem




     SENDER: COMPLETE THIS SECTION                             COMPLETE THIS SECTION ON DE IVERY

        Complete items 1,2, and 3.
        P int your name and address on the re erse
        so that we can return the card to you.
     * Attach this card to the back of the mailpiece,         -B, Received tiy Pimted Name) C
       or on the front if space permits.
     1. Article Addressed to:                                      Is delivery address different from ite 1?

       Davi £ Amx>                                                 if YES, enter delivery address below:


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   I PS Form 3811, July 2015 PSN 7530-02-000-9053                                                     Do estic Return Receipt
